     Case 2:15-cv-00632-MHT-GMB Document 20 Filed 03/09/16 Page 1 of 2



     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JERRY "VIRGIL" HUNTER,              )
                                    )
       Plaintiff,                   )
                                    )         CIVIL ACTION NO.
       v.                           )           2:15cv632-MHT
                                    )                (WO)
BIG DADDY FOODS, INC.,              )
                                    )
       Defendant.                   )


                                JUDGMENT

      In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

      (1) The     parties’     joint     motion    for    approval       of

settlement and dismissal with prejudice (doc. no. 16)

is   granted,     and   the   settlement      is   approved,     to      the

extent set out in the opinion (that is, except for

sections G and H).

      (2) This lawsuit is dismissed with prejudice, with

costs taxed as paid.
   Case 2:15-cv-00632-MHT-GMB Document 20 Filed 03/09/16 Page 2 of 2



    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket    as   a   final     judgment

pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 9th day of March, 2016.

                                    /s/ Myron H. Thompson____
                                 UNITED STATES DISTRICT JUDGE
